Case 2:99-cr-00079-DBH Document 675 Filed 11/08/11 Page 1 of 2           PageID #: 123




                      UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
                                       )
                                       )
v.                                     )             NO. 2:99-CR-79-DBH-04
                                       )
PAUL W. MOUNTS,                        )
                                       )
                  DEFENDANT            )


ORDER ON MOTION FOR APPOINTMENT OF COUNSEL AND MOTION FOR
       RESENTENCING PURSUANT TO 21 U.S.C. § 3582(c)(2)


      The defendant has filed a motion for appointment of counsel and to

reduce sentence because the Sentencing Commission has retroactively lowered

the base offense level for crack cocaine offenses. Def. Mot. to Appoint Cousnel

and Reduce Sentence (Docket Item 670).             For the same reason that the

defendant could not benefit from the earlier crack cocaine amendments, see

Order of March 6, 2008, he is unable to benefit from these new reductions

effective November 1, 2011. As I said in the 2008 Order:

                   The defendant’s original Guidelines calculations were
            a total offense level of 38 and a Criminal History of V. The
            resulting Guidelines range was 360 months to life (1998
            Guidelines Manual), but the statute capped the sentence at
            20 years.     21 U.S.C. § 841(b)(1)(C).      Accordingly, the
            December 28, 2000, Judgment and Commitment signed by
            Judge Carter imposed a sentence of 20 years. If I now
            lower the defendant’s total offense level to 36 because of the
            retroactive Guideline amendment, his Guidelines range
            becomes 292-365 months, still in excess of the statutory
            cap. Thus, his sentence would still be the statutory cap of
            20 years.

Order on Def.’s Mot. for Appointment of Counsel (Docket Item 581).
Case 2:99-cr-00079-DBH Document 675 Filed 11/08/11 Page 2 of 2      PageID #: 124




      Moreover, the most recent Guideline amendment does not change the

Base Offense Level or the Total Offense Level from what they were at the time of

my 2008 Order. The 1,320 grams of crack cocaine for which Mounts was held

responsible produced the same Base Offense Level of 34 in 2008 (down from 36

in 2000 when he was sentenced) and the same Total Offense Level as they do

after the 2011 amendment.      The Guideline range remains 292-365 months.

But that range still is well in excess of the statutory cap of 20 years, and I see

no reason for a departure or variance that would go below that statutory cap.

      Accordingly the motion is DENIED.

      SO ORDERED.

      DATED THIS 8TH DAY OF NOVEMBER, 2011

                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE




                                                                                 2
